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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.


                                                         Objection Deadline: February 11, 2022 at 4:00 p.m. (ET)
                                                                      Hearing Date: Scheduled only if necessary


                          NOTICE OF FILING OF FEE APPLICATION

                  PLEASE TAKE NOTICE that Mark Kolman (“Kolman”), expert consultant on

insurance coverage for sexual abuse claims and expert witness to the official committee of tort

claimants (consisting of survivors of childhood sexual abuse) (the “Tort Claimants’ Committee”

or the “TCC”), in the above-captioned cases, has filed his First Monthly (Combined) Application

of Mark H. Kolman, as Expert Consultant on Insurance Coverage for Sexual Abuse Claims and

Expert Witness, for Allowance of Compensation and Reimbursement of Expenses for the Period

from November 19, 2021 through January 26, 2022 (the “Application”) seeking fees in the

amount of $35,500.00 and reimbursement of actual and necessary expenses in the amount of

$0.00 for the period from November 19, 2021 through January 26, 2022.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before February 11, 2022 at 4:00 p.m. prevailing Eastern Time.



1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, upon the following: (i) the Debtors: Boy Scouts

of America, 1325 W. Walnut Hill Lane, Irving, TX 75038 (Attn: Steven P. McGowan); (ii)

proposed counsel to the Debtors: (a) White & Case LLP, 1221 Avenue of the Americas, New

York, NY 10020 (Attn: Jessica C. Lauria (jessica.lauria@whitecase.com)), (b) White & Case

LLP, 111 S. Wacker Drive, Chicago, IL 60606 (Attn: Michael C. Andolina

(mandolina@whitecase.com) and Matthew E. Linder (mlinder@whitecase.com)); and (c) Morris,

Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, 16th Floor, P.O. Box 1347, Wilmington,

DE 19899-1347 (Attn: Derek C. Abbott (dabbott@mnat.com)); (iii) the United States Trustee:

844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: David Buchbinder

(david.l.buchbinder@usdoj.gov) and Hannah M. McCollum (hannah.mccollum@usdoj.gov));

(iv) counsel to the Official Committee of Unsecured Creditors: (a) Kramer Levin Naftalis &

Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036 (Attn: Rachael Ringer

(rringer@kramerlevin.com) and Megan M. Wasson (mwasson@kramerlevin.com)) and (b) Reed

Smith LLP, 1201 N. Market Street, Suite 1500, Wilmington, DE 19801 (Attn: Kurt F. Gwynne

(kgwynne@reedsmith.com) and Katelin A Morales (kmorales@reedsmith.com)); (v) counsel to

the Tort Claimants’ Committee: Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th

Floor, P.O. Box 8705, Wilmington, DE 19801 (Attn: Richard M. Pachulski

(rpachulski@pszjlaw.com) and James E. O’Neill (joneill@pszjlaw.com)); (vi) counsel to the

Future Claimants’ Representative: Young Conaway Stargatt & Taylor, LLP, Rodney Square,

1000 N. King Street, Wilmington, DE 19801 (Attn: Robert S. Brady (rbrady@ycst.com) and

Edwin J. Harron (eharron@ycst.com)); (vii) counsel to the Ad Hoc Committee of Local

Councils: Wachtell, Lipton, Rosen & Katz, 51 W. 52nd Street, New York, NY 10019 (Attn:


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Richard G. Mason (rgmason@wlrk.com) and Joseph C. Celentino (jccelentino@wlrk.com));

(viii) counsel to JPMorgan Chase Bank, National Association: (a) Norton Rose Fulbright US

LLP, 2200 Ross Avenue, Dallas, TX 75201-7932 (Attn: Louis R. Strubeck

(louis.strubeck@nortonrosefulbright.com) and Kristian W. Gluck

(kristian.gluck@nortonrosefulbright.com) and (b) Womble Bond Dickinson (US) LLP, 1313 N.

Market Street, Suite 1200, Wilmington, DE 19801 (Attn: Matthew Ward (matthew.ward@wbd-

us.com) and Morgan Patterson (morgan.patterson@wbd-us.com)); and (ix) counsel to the County

Commission of Fayette County (West Virginia): Steptoe & Johnson PLLC, Chase Tower, 8th

Floor, 707 Virginia Street East, Charleston, WV 25301 (Attn: John C. Stump

(john.stump@steptoe-johnson.com)).

                 PLEASE TAKE FURTHER NOTICE that on April 6, 2020, the Bankruptcy

Court entered the Order (I) Approving Procedures for (A) Interim Compensation and

Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief (the “Order”) [Docket No. 341].

Pursuant to the Order, in the absence of timely filed objections or responses, and upon the filing

with the Bankruptcy Court of a certification of no objection, the Debtors are authorized to pay

the professionals eighty percent (80%) of the fees, and one hundred percent (100%) of expenses

without further notice or hearing. All fees and expenses paid to the professionals are subject to

final approval by the Court.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




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 Dated: January 28, 2022      PACHULSKI STANG ZIEHL & JONES LLP

                                /s/ James E. O’Neill
                              Richard M. Pachulski (CA Bar No. 90073) (admitted pro hac vice)
                              Alan J. Kornfeld (CA Bar No. 130063) (admitted pro hac vice)
                              Debra I. Grassgreen (CA 169978) (admitted pro hac vice)
                              Iain A.W. Nasatir (CA Bar No. 148977) (admitted pro hac vice)
                              James E. O’Neill (DE Bar No. 4042)
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                              Counsel for the Tort Claimants’ Committee




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